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              Donald J. Trump
              @realDonaldTrump · 6d

   Wow! District Attorney Bragg just illegally LEAKED the various points, and complete
   information, on the pathetic Indictment against me. I know the reporter and so,
   unfortunately, does he. This means that he MUST BE IMMEDIATELY INDICTED.
   Now, if he wants to really clean up his reputation, he will do the honorable thing
   and, as District Attorney, INDICT HIMSELF. He will go down in Judicial history, and
   his Trump Hating wife will be, I am sure, very proud of him!

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